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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

Rock Spring Plaza II, LLC,

                    Plaintiff,

         v.                                          Civil Action No. 8:20-cv-01502-PJM

Investors Warranty of America, LLC,
et al.,

                    Defendants.


       DEFENDANTS’ JOINT MOTION TO COMPEL DEPOSITION TESTIMONY
                        OF CHARLES CAMALIER, III

         Defendant/Counterclaim   Plaintiff   Investors   Warranty   of   America,    LLC   and

Defendant/Counterclaim Plaintiff Rock Springs Drive, LLC, by counsel and pursuant to Local Rule

105.1, move to compel Charles Camalier, III to adequately prepare and provide complete

responses to the questions presented during his deposition taken pursuant to Fed. R. Civ. P.

30(b)(6) and during his individual deposition. The grounds for this motion are set forth in the

attached memorandum of points and authorities.


         Dated: August 29, 2023                             Respectfully Submitted,

         /s/Rebecca A. Davis                                /s/ Sara E. Kropf

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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

Rock Spring Plaza II, LLC,

                    Plaintiff,

         v.                                           Civil Action No. 8:20-cv-01502-PJM

Investors Warranty of America, LLC,
et al.,

                    Defendants.



                MEMORANDUM OF POINTS AND AUTHORITIES
     IN SUPPORT OF DEFENDANTS’ JOINT MOTION TO COMPEL DEPOSITION
                  TESTIMONY OF CHARLES CAMALIER, III

         Defendant/Counterclaim Plaintiff Investors Warranty of America, LLC (“IWA”) and

Defendant/Counterclaim Plaintiff Rock Springs Drive, LLC (“RSD”, and together with IWA,

“Defendants”), move to compel Charles Camalier, III, who testified as a fact witness and Plaintiff’s

corporate representative, to adequately prepare and provide complete responses to the questions

presented during his deposition taken pursuant to Fed. R. Civ. P. 30(b)(6) and his individual

deposition.1

                                        BACKGROUND

         Plaintiff Rock Spring Plaza II, LLC (“Plaintiff”) is the landlord under the Amended and

Restated Ground Lease Indenture dated November 14, 1990 (the “Ground Lease”), which was

originally entered into with Plaintiff’s affiliate, Rock Spring II Limited Partnership (the “Original

Tenant”). Plaintiff is a Camalier Family company. See 30(b)(6) Deposition of Plaintiff, March



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 Local Rule 104.8 “shall not govern motions to compel . . . (b) answers to deposition questions.
Such latter motions shall be filed with the Court and treated as any non-discovery motion.”

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21, 2023, Vol. I, (“30(b)(6) Dep. Vol I”) 13:16; 14:8-14), cited portions of which are attached

hereto as Exhibit A.

         IWA and Plaintiff are parties to the Ground Lessor Estoppel and Non-Disturbance

Agreement dated June 2, 2006 (the “Estoppel Agreement”) for the property located at 6560 Rock

Spring Drive (the “Property”). The Estoppel Agreement was negotiated and entered into in

connection with a $30 million loan (the “Loan”) made to Original Tenant. Mr. Camalier negotiated

the Ground Lease executed the Estoppel Agreement on behalf of Plaintiff and Original Tenant.

         In 2011, Original Tenant defaulted on repayment of its Loan obligations and the Ground

Lease. As a result of the defaults, IWA, as the lender, foreclosed on the Ground Lease in 2012,

Then, on August 31, 2017, pursuant to the express terms of the Ground Lease and Estoppel

Agreement, IWA assigned the Ground Lease to RSD (the “Assignment”). Plaintiff filed this

lawsuit claiming that the Assignment is a fraudulent conveyance, and has argued that the fraud is

evidenced by the fact that RSD did not voluntarily share its proprietary and confidential

information with Plaintiff, including its corporate structure and business purpose. Defendants

contend that Plaintiff’s requests for information were overreaching and that RSD shared all of the

information that they were legally obligated to share with Plaintiff. Thus, from Defendants’

perspectives, one of the key issues in this case is what information they were legally obligated to

share at the time of the Assignment, and what rights Plaintiff understood IWA had under the

Ground Lease and the Estoppel Agreement to assign the Ground Lease to RSD.

         Further still, one of IWA’s primary defenses is that the Assignment is valid because the

Ground Lease and Estoppel Agreement granted IWA an absolute right to assign the Ground Lease,

without any restrictions or conditions. Section 5. 2 of the Ground Lease states that a tenant may

assign the Ground Lease, and Section 14.5 states that a “[t]enant and its successors and assigns



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shall be liable only for obligations accruing while it holds the leasehold estate.” Section 19 of the

Estoppel Agreement provides that if a lender that acquires the Ground Lease it has the “absolute

right” to assign the Ground Lease to any third party. Another of IWA’s defenses is that through

its execution of the Estoppel Agreement, Plaintiff waived its right to challenge the Assignment.

IWA’s only obligation to Plaintiff was to provide notice of the Assignment within ten (10) day

after it was made.

         On December 30, 2022, IWA served Plaintiff with a Notice of Rule 30(b)(6) Deposition.

Following a hearing on multiple discovery motions held on February 16, 2023, on February 26,

2023, IWA served a Supplemental Notice of Rule 30(b)(6) Deposition (“Supplemental Notice”)

to Plaintiff, scheduling Plaintiff’s deposition for March 21, 2023. A copy of the Supplemental

Notice is attached hereto as Exhibit B. Plaintiff served its objections to the Supplemental Notice

(“Objections”) on March 7, 2023, a copy of which is attached hereto as Exhibit C. Defendant RSD

served a cross-notice for the Supplemental Notice on March 12, 2023. Also on March 12, 2023,

RSD served a subpoena on Mr. Camalier for his individual deposition, which was scheduled for

March 22, 2023. On March 20, 2023, IWA served a Cross-Notice of Deposition of Charles

Camalier.

         Relevant information that Defendants sought through the Depositions, included, among

other things:

                   The basis for Plaintiff’s objection to the Assignment, including as to any Ground
                    Lease or Estoppel Agreement provisions;

                   The basis for Plaintiff’s claims that it was entitled to information about RSD,
                    including RSD’s proprietary and confidential information;

                   Whether Plaintiff contends that IWA is a surety or guarantor of the Ground Lease,
                    and if so, the basis for that contention;

                   Plaintiff’s evidence of fraud;


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                   Plaintiff’s identification of any John Doe defendants;

                   Plaintiff’s ongoing ownership interest in the real property (the ground) that is leased
                    under the Ground Lease; and

                   Any impairment created by the Assignment and Plaintiff’s damages.

         Mr. Camalier was deposed as Plaintiff’s corporate representative in a (30)(b)(6) Deposition

(the “30(b)(6) Deposition”) on March 21 and 22, 2023, and Mr. Camalier was deposed in his

individual capacity on March 22, 2023 (the “Individual Deposition”). Counsel for RSD (Sara

Kropf) served as the questioning attorney during both depositions. Although Mr. Camalier

appeared for both depositions, he was unprepared as a corporate witness and refused to answer

several questions during the 30(b)(6) and Individual Depositions. Moreover, Plaintiff’s attorney,

who also represented Mr. Camalier in his Individual Deposition, lodged meritless objections and

instructed Mr. Camalier not to answer several relevant questions, including questions that fell

within the scope of the topics noticed in the Supplemental Notice and to which Plaintiff had agreed

to provide testimony. Mr. Camalier also refused to admit that he received certain documents,

although he was the person who produced them.

         For the reasons set forth herein, Defendants respectfully request that the Court order Mr.

Camalier to appear for a second deposition to complete this questioning in both his Individual and

30(b)(6) Depositions, at Plaintiff’s cost and expense, and Mr. Camalier should be ordered to

answer the questions on the topics identified herein.

                                           LEGAL STANDARD

         The Federal Rules of Civil Procedure permit broad factual discovery, granting parties

access to “any nonprivileged matter that is relevant to any party’s claim or defense and

proportional to the needs of the case . . . .” Fed. R. Civ. P. 26(b)(1). “[T]he key to determining

whether information is discoverable under Fed. R. Civ. P. 26(b)(1) is relevance and lack of


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privilege, not ultimate admissibility at trial.” Boyd v. Univ. of Maryland Med. Sys., 173 F.R.D.

143, 148 (D. Md. 1997). “Evidence is relevant if it has any tendency to make more likely, or less

likely, any fact that is of consequence to the litigation.” Id.

         In September 1995, this Court adopted nine Discovery Guidelines in order to “facilitate the

just, speedy, and inexpensive conduct of discovery in all civil cases before this court.” Boyd, 173

F.R.D. at 146 (citing Local Discovery Guidelines, Guideline 1(a) (D. Md. 1995)). “Although the

Guidelines are not mandatory, compliance is considered by the Court in resolving discovery

disputes, including whether sanctions should be imposed pursuant to Fed. R. Civ. P. 37.” Id.

         Within this framework, this Court has distilled the assessment of an improper instruction

not to answer to the following considerations:

         (1) pursuant to Fed. R. Civ. P. 26(b)(1), a deponent may be questioned about any
         matter which is relevant to the litigation, which is not privileged, and the fact that
         the information sought may not ultimately be admissible does not mean that it is
         not discoverable; (2) pursuant to Fed. R. Civ. P. 30(d)(1) and Guideline 5(d), any
         time that a lawyer instructs a deponent not to answer a question except as
         authorized by Rules 30(d)(1) or 30(d)(3) the instruction is presumptively improper.

Boyd, 173 F.R.D. at 147 (emphasis added). Fed. R. Civ. P. 30(d)(1) governs the duration of the

deposition, not to exceed seven hours, and 30(d)(3) governs termination on the grounds of a

deposition being conducted in bad faith or that harasses the deponent. Additionally, in determining

the appropriateness of sanctions, the District Court has established:

         Whether such a presumptively improper instruction warrants the imposition of
         sanctions pursuant to Fed. R. Civ. P. 37, however, will depend upon the Court's
         assessment of the following five factors: (1) the importance of the requested
         information to the issues in the litigation (i.e., is the solicited information collateral
         or marginally relevant, or alternatively, is it material to a claim or defense); (2) the
         number of times the attorney instructed the witness not to answer (i.e., was the
         instruction an isolated incident or is there a pattern of disruptive instructions); (3)
         whether the question which prompted the instruction not to answer was proper and
         unobjectionable; (4) whether the instruction not to answer appears to have been
         made in a sincere, although misguided, effort to preserve a colorably valid
         objection, or, instead, for purposes of disrupting the deposition; and (5) whether the


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         attorney instructing the deponent not to answer had advance notice of the likelihood
         that the deposing attorney would initiate questions in an area considered
         objectionable, and whether the attorney sought a protective order pursuant to Fed.
         R. Civ. P. 26(c).

Id. “It must be emphasized that any instruction not to answer a deposition question which does

not comply with Fed. R. Civ. P. 30(d)(1) and (3) and Guideline 5(d) is presumptively improper.”

Id.

         District Courts “enjoy substantial discretion in the management of discovery and whether

to grant motions to compel.” E.E.O.C. v. Freeman, 288 F.R.D. 92, 98 (D. Md. 2012). “When the

deposition was conducted pursuant to Rule 30(b)(6), the court may consider the scope of the notice

of deposition in determining whether to compel answers.” Id. It is the “obligation” of the deponent

to be prepared to answer the “topics in the Rule 30(b)(6) notice of deposition.” Id. at 99. “This

interpretation is necessary in order to make the deposition a meaningful one and to prevent the

‘sandbagging’ of an opponent by conducting a half-hearted inquiry before the deposition but a

thorough and vigorous one before the trial.” InfoTek Corp. v. Preston, No. CV CCB-18-1386,

2022 WL 4121414, at *9 (D. Md. Sept. 9, 2022).

         A “corporation is obligated to prepare the designees so that they may give knowledgeable

and binding answers for the corporation.” Paul Revere Life Ins. Co. v. Jafari, 206 F.R.D. 126, 127

(D. Md. 2002); (citation omitted); see also Int’l Ass'n of Machinists & Aerospace Workers v.

Werner-Masuda, 390 F. Supp. 2d 479, 487 (D. Md. 2005) (explaining that a corporation is

obligated to produce one or more 30(b)(6) witnesses who were thoroughly educated about the

noticed deposition topics with respect to any and all facts known to the corporation or its counsel).

“Where a corporate deponent fails to provide an adequately prepared designee for deposition,

sanctions are proper.” Coryn Grp. II, LLC v. O.C. Seacrets, Inc., 265 F.R.D. 235, 239 (D. Md.

2010). “Monetary sanctions are mandatory under Rule 37(d) for failure to appear by means of


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wholly failing to educate a Rule 30(b)(6) witness, unless the conduct was substantially justified.”

Werner-Masuda, 390 F. Supp. 2d at 489. The rule provides that a court “shall require the party

failing to act or the attorney advising that party or both to pay the reasonable expenses, including

attorney's fees, caused by the failure.” Id. (citing Fed. R. Civ. P. 37(d)).

                                           ARGUMENT

         Defendants deposed Mr. Camalier on matters that are relevant to this litigation and laser-

focused on Plaintiff’s claims and Defendants’ defenses and counterclaims. Rather than cooperate

with the discovery process, Plaintiff hid behind improper objections and instructions to evade

discovery. At no time during the 30(b)(6) Deposition of Mr. Camalier as the corporate witness, or

during Mr. Camalier’s Individual Deposition, did Plaintiff’s counsel justify his objection to the

questions on the basis of Fed. R. Civ. P. 30(d)(1) and (3) or Guideline 5(d) - the only permissible

grounds recognized by this Court.

         Instead, Mr. Camalier’s counsel argued that the questions were not relevant, or were

otherwise outside the scope of the 30(b)(6) topics – even though the questions were squarely within

the topics that Plaintiff promised to provide a corporate representative to testify about.2

         Also, to the extent that Mr. Camalier asserted that certain matters were not relevant based

on the Court’s rulings at the February 16, 2023 hearing, Mr. Camalier and Plaintiff’s counsel

misstated and misapplied the Court’s ruling. But even still, relevance is not a permissible basis to

instruct a deponent not to answer a deposition question. See Freeman, 288 F.R.D. 92, 100 (D. Md.

2012) (“Relevance is not a proper basis for instructing a deponent not to answer a question, as



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  Had Plaintiff informed Defendants that it would not produce a witness on these topics,
Defendants would have filed a motion to compel, which could have been resolved ahead of the
deposition. Instead, Plaintiff agreed to provide a corporate representative but then turned around
at the deposition and refused to allow the corporate representative to answer questions about
these topics.

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questions of relevance should be decided by the trial judge.”) (citing Fed. R. Civ. P. 30(c); Local

Disc. Guidelines 6(d)).

         Additionally, Mr. Camalier admitted that he did not prepare for some of the deposition

topics, impeding Defendants’ ability to attain needed, discoverable information. See Weintraub v.

Mental Health Auth. of St. Mary’s, Inc., No. CIVA DKC 2008-2669, 2010 WL 347882, at *3 (D.

Md. Jan. 22, 2010) (“[I]f the persons designated by the corporation do not possess personal

knowledge of the matters set out in the deposition notice, the corporation is obligated to prepare

the designees so that they may give knowledgeable and binding answers for the corporation.”)

(citation omitted).

         Given the extreme breadth of Plaintiff’s objections and the witness’ refusal not to answer

highly relevant questions as Ms. Kropf explained at the deposition, “we can raise all the issues that

we might need to raise about [Mr. Camalier’s] lack of preparation on certain topics and give it all

at once” to the Court and is now doing so (see (30(b)(6) Deposition of Plaintiff, March 22, 2023,

Vol. II, (“30(b)(6) Dep. Vol II”) 76:6-15, cited portions of which are attached hereto as Exhibit

D), and Defendants request that resumption of Plaintiff’s 30(b)(6) Deposition and Plaintiff’s

Individual Deposition.

         A. Mr. Camalier Failed to Answer Questions Within the Topics Noticed For His
            Corporate Deposition

         Plaintiff failed to meet its obligation to prepare a witness so that he is knowledgeable

about the noticed topics.

                    1. The Ground Lease

         Mr. Camalier, in both the 30(b)(6) and Individual Depositions, refused to answer questions

about the provisions of the Ground Lease, including the basis for a number of Plaintiff’s claims.

Topic 1 for the 30(b)(6) Deposition was “[d]rafting and negotiation of the Ground Lease.” (See


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Supplemental Notice at 1) Plaintiff objected to Topic 1 and stated that the topic was, among other

things, disproportionate to the needs of this case and exceeded the limits on discovery imposed by

the Court. (See Objections at 1) However, the topic is not disproportionate because unlike

Defendants who stepped into the terms of the Ground Lease, Plaintiff drafted the provisions of

thAT contract.

         Plaintiff represented that it would instead “designate a witness to testify on Plaintiff’s

behalf regarding the provisions of the Ground Lease pertaining to the Assignment.” Defendants

prepared their own questions based on the Objections and the scope of inquiry to which Plaintiff

agreed, which was to include “provisions of the Ground Lease pertaining to the Assignment.”

However, Mr. Camalier was not prepared to testify about the provisions in the Ground Lease

pertaining to the Assignment. (30(b)(6) Dep. Vol I 29:3-11, 30:4-11) Instead, at the 30(b)(6)

deposition, its counsel insisted that the witness need only testify about the “negotiations” of the

Ground Lease – the exact topic that Plaintiff stated in its Objections was irrelevant. (Id. at 27:9-

20) On such grounds, Plaintiff’s counsel also instructed him not to answer, among other things,

whether the landlord can sublease the property at issue under the Ground Lease (Id. at 32:6-8), as

well as whether the landlord can enter the building to inspect it without the landlord’s consent

under the Ground Lease (Id. at 32:3-8). Mr. Camalier’s counsel repeated the same instruction as

to Ms. Kropf’s question about whether any provision of the Ground Lease requires a tenant to

share information about assignees with the landlord, which is unequivocally a material issue in

this litigation. (Id. at 32:21-24) Plaintiff also refused to answer the basis for Plaintiff’s demands

for information from RSD by Plaintiff’s counsel, such as RSD’s identity and ownership, and what

provision of the Ground Lease (if any) formed the basis for Plaintiff’s demands. (Id. at 258:2-

261:20) Mr. Camalier also refused to answer whether a tenant required a landlord’s consent to



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sublease. (Id. at 32:9-15) Mr. Camalier’s justification for instructing his client not to answer was

simply, “outside the scope.” (Id. at 32:7)

         When asked specifically what provisions of the Ground Lease requires the tenant to provide

the landlord with the tenant’s identity, counsel again instructed Mr. Camalier not to answer. This

time, counsel’s objection was that the question sought testimony regarding legal obligations under

the Ground Lease. (30(b)(6) Dep. Vol. I 259:3-12, 259:23-25; 260:1-3) Mr. Camalier’s counsel

made the same instruction not to answer the question “where in the ground lease does [it] require

the tenant to provide information about its intentions to the landlord?”, again claiming that it was

outside the scope. (Id. at 260:12-15) Similarly, Ms. Kropf asked Mr. Camalier whether there is a

requirement in the Ground Lease that the assignee cannot be funded by an entity with an ownership

interest in the assignee, and Mr. Camalier was instructed not to answer by his counsel. (30(b)(6)

Dep. Vol. II 71:6-73:17) Last, when asked whether he was prepared to testify to the drafting and

negotiations of provisions other than the capitalization terms, Mr. Camalier’s counsel intercepted

so that his client could not answer, asserting that the inquiry was “outside the scope.” (Id. at 16:10-

25)

         Mr. Camalier also would not testify, either as the corporate witness or in an individual

capacity about the role of special purpose entities with respect to the Ground Lease. (Deposition

of Charles Camalier, March 22, 2023 (“Camalier Dep.”) 8:13-12:25, cited portions of which are

attached hereto as Exhibit E) Although relevant under Topics 1, 2 and 6, Plaintiff would not

answer questions about the facts related to whether IWA was a surety or guarantor of the Ground

Lease, even though the Court specifically raised this as a possible basis to keep IWA on the hook

for lease payments during the February 16, 2023 hearing. (30(b)(6) Dep. Vol. I 99:3-25; 2/16/23




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Hrg. Tr. at 10 (“it is my view that under the law, the assignor of the lease is the surety on the

contract.”)).

         Plaintiff answered some questions in a self-serving manner and then refused to answer

follow-up questions about them. For example, when asked what part of the Estoppel Agreement

“goes to whether or not IWA agreed to be jointly responsible for Rock Springs Drive for ground

rent payments? Which part of Section 12?”, Mr. Camalier answered “Section 12 requires our

consent. We did not consent to the assignment.” But when counsel asked Mr. Camalier to identify

where in Section 12 does it “require [Plaintiff’s] consent”,” counsel instructed him not to answer

the questions. (30(b)(6) Dep. Vol. I 98:20-99:11). Defendants are entitled to answers to all of the

foregoing questions, and any follow-up questions that would arise from the witness’ responses—

not to have a witness answer one question and then refuse to answer follow-up questions to

challenge the basis of that answer.

         Mr. Camalier’s refusal to answer questions about the Ground Lease carried over to his

individual deposition, and counsel again instructed him not to answer relevant and proper

questions relating to the Ground Lease in his Individual Deposition as it relates to single purpose

entities. (Camalier Dep. 9:4-9:18)

         Plaintiff’s refusal to answer these questions was improper. First, in most of its objections,

Plaintiff argued that it was not obligated to testify about provisions of the Ground Lease because

the topic was limited to negotiations. That objection was directly contradicted by Plaintiff’s

Objections, which state that Plaintiff would not testify about “negotiations,” but would instead

testify about the “provisions” of the Ground Lease. Second, this case, brought by Plaintiff, is about

the validity of the Assignment, which was authorized by both the Ground Lease and the Estoppel

Agreement. Defendants’ position is that because the agreements executed by Plaintiff permitted



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the Assignment, it was not a fraudulent conveyance and that Plaintiff has waived these claims by

agreeing to the Assignment. Plaintiff has taken the position that the Ground Lease and the Estoppel

Agreement do not allow the Assignment. Defendants are therefore permitted to explore the basis

of that position so that there are no surprises as trial. Despite the relevance of these issues, et

Plaintiff refuses to provide any testimony regarding them. A “corporation must provide its

interpretation of documents and events.” Paul Revere, 206 F.R.D. at 127 (citation omitted). Third,

before the litigation was filed, Plaintiff sent multiple letters to RSD stating that Plaintiff was

entitled to information from RSD (including information that exceeds the “basic information”

standard imposed by the Court), and then filed its lawsuit based on Defendants’ failures to meet

these information sharing obligations. At the very least, Defendants are entitled to learn during

discovery what Plaintiff is relying on to support its claim that Defendants did not meet their

obligations under the Ground Lease and Estoppel Agreement as far as sharing information with

Plaintiff.

                    2. The Estoppel Agreement

                      a.   The 30(b)(6) Deposition

         In both the 30(b)(6) and Individual Depositions, Mr. Camalier refused to testify about the

Estoppel Agreement. Topic 2 of the “Subject Matter of Inquiry” from IWA’s 30(b)(6) Deposition

Notice is “Negotiation and execution of the Estoppel Agreement.” (See Supplemental Notice at

2) In its Objections, Plaintiff again asserted that the negotiations were not relevant, but that

“Plaintiff is willing to designate a witness to testify on Plaintiff’s behalf regarding the provisions

of the estoppel agreement pertaining to the assignment.” (See Ex. C at 2; (30(b)(6) Dep. Vol. I

52:35-35 - 55:1-2) Yet, Mr. Camalier’s counsel instructed his client not to answer questions within




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the very scope proscribed by Plaintiff. Instead, after Defendants prepared on the scope created by

Plaintiff, Plaintiff demanded that the deposition questions be limited to a different scope.

         Yet, even as to negotiation, Mr. Camalier was also not prepared to answer fundamental

inquiries about the Estoppel Agreement. When asked “Did the tenant sign the estoppel agreement

to get the loan?”, Mr. Camalier answered that it “could have been a reason.” (30(b)(6) Dep. Vol.

I 42:6-9) (emphasis added). As a follow-up, Mr. Camalier would not answer “why did the tenant

execute the estoppel agreement?” Instead, he only vaguely offered “there may be other reasons

that I don’t recall right now.” (Id. at 44:23-25) Similarly, when asked simply who drafted the

Estoppel Agreement, Mr. Camalier answered he did not know. (Id. at 49:24) Although possibly

true, Mr. Camalier also did not consult with Plaintiff’s counsel from the negotiations of the

Estoppel Agreement, Holland & Knight, to obtain any records to prepare for the deposition. (Id.

at 52:21-22); see Paul Revere, 206 F.R.D. at 128 (explaining that a corporate representative is

required to review all matters known or reasonably available to it in preparation for the Rule

30(b)(6) deposition). Finally, when asked plainly whether the Landlord participated in the

negotiations of the Estoppel Agreement, and further, whether Mr. Camalier was prepared to testify

as to the extent of the negotiations, Mr. Camalier answered unequivocally that he did not

remember. (Id. at 25:4-27:20) It is evident that Mr. Camalier did not take any steps to prepare to

address the topic to enable him to answer questions on the topic on behalf of Plaintiff. At most,

Mr. Camalier checked his personal records and one email account. (Id. at 51:2-5, 52:7-13)

         When Ms. Kropf proceeded to ask Mr. Camalier about Plaintiff’s understanding of certain

terms of the Estoppel Agreement, his counsel was selective in instructing him not to answer,

claiming it was “beyond the scope.” (30(b)(6) Dep. Vol. I 46:20-22, 47:9-16, 80:15-24) For

example, Mr. Kropf inquired as to “Plaintiff’s understanding” of particular sentences in Section



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12 of the Estoppel Agreement, to which Mr. Camalier was instructed not to answer. (Id. at 57:19-

25 – 58:1-19) Likewise, when asked “what does Plaintiff understand” certain phrases in the

Estoppel Agreement mean, Mr. Camalier was instructed not to answer. (Id. at 78:22-79:1-5)

RSD’s counsel primarily focused only on the very same two provisions in the Estoppel Agreement

that have been repeatedly briefed in this case, and counsel still did now allow his client to answer

select questions pertaining to those two provisions. (Id. at 62:9-14) Ultimately, Mr. Camalier

refused to testify about any of the key issues in this case, including whether there were negotiations

about capitalization; approval of assignments; restrictions on assignments, including as to when

an assignor has an interest in the assignee; and any requirements that an assignee must disclose its

owners and members to the landlord. (30(b)(6) Dep. Vol. II 13:14-18:15)

                    b. Camalier Deposition

         Mr. Camalier also refused to answer questions about the Estoppel Agreement in his

Individual Deposition. Ms. Kropf asked Mr. Camalier whether there was any requirement for the

lender to assign the lease at the time of the foreclosure of the property. (Camalier Dep. 15:4-7)

Mr. Camalier’s counsel instructed him not to answer, claiming it is a legal document that speaks

for itself. (Camalier Dep. Vol. II 15:8-12) Yet, it was Mr. Camalier who negotiated that legal

document. He further insisted that this Court had already ruled on this inquiry as “improper

discovery in this case.” (Camalier Dep. 16:1-5) Ms. Kropf explained her disagreement, pointing

out the inquiry about the parties’ understanding of legal documents that may support Plaintiff’s

claims are “not legal conclusions,” and is fair game and relevant. (Camalier Dep. 16:11-17)

         After a discussion off the record during which the parties attempted to reach the Court, the

parties reconvened for Ms. Kropf to ask the question yet again, and Mr. Camalier’s counsel

instructed him not to answer. (Camalier Dep. 18:4-9) With Mr. Camalier’s counsel’s general



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objection for his client to not answer any questions pertaining to the Estoppel Agreement, at the

conclusion of the deposition, Ms. Kropf set forth additional questions for which she preserved to

ask of Mr. Camalier:

         a.         Is there any requirement in the ground lease that the assignee cannot be funded by

                    an entity with an ownership interest in the assignee?

         b.         Is there any requirement in the estoppel agreement that the Assignee cannot be

                    funded by an entity with an ownership interest in the assignee?

(Id. at 38:2-25) Ms. Camalier’s did not answer any of these questions pertaining to his personal

interpretation or understanding of the Estoppel Agreement.

         Yet Mr. Camalier, fully understood the terms of the Estoppel Agreement. Indeed, both as

the corporate witness and individually, he testified about provisions of the Estoppel Agreement

that he deemed favorable to his position, and cherry-picked the subject matter of his own

testimony. (See, e.g., Camalier Dep. 15:4-17:23) It was only when the provision contradicted

Plaintiff’s claims that his counsel instructed him not to answer.

                    3. Documents Relevant to IWA as a Surety

         Topic 6 of the deposition notice included, “[a]ny communications, offers or agreements

with any person or entity to act as a guarantor or surety of the Ground Lease, including as to any

requirement of a guarantor or surety for the assignment of the Ground Lease.” Ex. B. This is a

matter that the Court raised at the February 16, 2023 hearing and is therefore relevant to the case.

See 2/16/23 Hrg. Tr. at 10. Within that subject, Ms. Kropf asked Mr. Camalier about what

provisions of the Estoppel Agreement support Plaintiff’s position that it is a surety, but he was

instructed not to answer. (30(b)(6) Dep. Vol. I 99:3-25) Defendants cannot defend themselves

against this new theory of liability—under a theory of suretyship or guarantee—if they cannot



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discover the factual basis for it. Refusal to answer these questions denies Defendants the fair

opportunity to prepare for trial and means that Plaintiff could surprise Defendants at trial with new

evidence to support these this theory.

                    4. Assignment

         “The Assignment and any objections by Plaintiff thereto” is covered in topic 7 of the

deposition notice. Ex. B. Ms. Kropf questioned Mr. Camalier as to whether the notice of the

assignment was sufficient or if Plaintiff’s position is that it didn’t receive notice, to which he was

instructed not to answer. (30(b)(6) Dep. Vol. I 105:8-24, 106: 3-10) Mr. Camalier’s counsel also

instructed him not to answer where, in any agreement, landlord’s consent is required before an

assignment can be executed. (Id. at 104:12-22) This topic is relevant because Defendants’ position

is that they met the contract’s requirement for an assignment (notice to the landlord within 10

days), and thus the Assignment is valid.

                    5. Evidence of Impairment or Damages Relating to the Assignment

         Mr. Camalier also refused to answer certain questions about any impairment or other

negative impact of the Assignment, which is an allegation of the complaint. See 2d Am. Compl.

(ECF 196) ¶ 49 (“The purported assignment of the Ground Lease to Assignee materially increases

the burden and risk imposed on Plaintiff by the Ground Lease, materially impairs Plaintiff’s chance

of obtaining return performance under the Ground Lease, and/or materially reduces the Ground

Lease’s value to Plaintiff.”). For example, Mr. Camalier was instructed not to answer any

questions regarding whether there is a loan on the property and whether the Assignment impacted

that loan. (Camalier Dep. 27:9-29:3; 30(b)(6) Dep. Vol. I 353:3-367:23)

         Topic 12 of the deposition notice extends to “Plaintiff’s agreements with brokers regarding

the leading, selling, marketing or any other activities with respect to the Property.” Ex. B. Under

that topic, Ms. Kropf asked Mr. Camalier about one of Plaintiff’s real estate broker’s involvement

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with underwriting loans on the Property that he was instructed not to answer. (30(b)(6) Dep. Vol.

I 360:7-13) Ms. Kropf also questioned Mr. Camalier about his communications with the lender

about the assignment, which Mr. Camalier’s counsel instructed his client not to answer, deeming

the question “improper” and “outside the scope.” (Id. at 361:11 - 363:4)

                    6. Plaintiff’s Interest in the Property

         When asked whether the Camalier’s family interest in the Property has changed since it

first entered the ground lease (Camalier Dep. 26:1-4, 15-17), Mr. Camalier was instructed by his

counsel not to answer (Id. at 26:5-7,18-19) Counsel contended the question “goes beyond the

scope of permissible discovery in this case.” (Id. at 26:19-20)

         When Ms. Kropf proceeded to ask, more specifically, about the time period since 2015

regarding the loan that the Camalier family had on the Property, Mr. Camalier’s counsel instructed

him not to answer on the same basis. (Camalier Dep. 27:13-15) The questions concerned whether

the Camalier family had called the loan, used ground rents to pay the loan, and had an ability to

pay back the loan. Still, Mr. Camalier’s counsel instructed his client not to answer any of these

questions.

         Section 13.1 of the Ground Lease requires Plaintiff to notify the tenant if it “sells, assigns,

or mortgages its fee interest.” Even beyond the relevance of this matter to determine who is the

appropriate party-in-interest, if the ownership has changed hands, then RSD is entitled to know

that it did to determine whether Plaintiff breached the Ground Lease. Moreover, if Plaintiff is no

longer the owner of the property, its standing to continue this lawsuit is called into question.

                    7. Testimony Withheld Based on Plaintiff’s Allegations of Incomplete
                       Discovery

         Finally, Plaintiff’s corporate witness also made clear that he was not able to answer certain

questions until discovery is complete. Specifically, Mr. Camalier stated that, on behalf of Plaintiff,


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he could not answer whether IWA made any false statement to IWA following the Assignment.

(30(b)(6) Dep. Vol. II 81:6-82:2) Similarly, Mr. Camalier testified he could not answer whether

RSD made any false statements following the Assignment. (Id. at 82:3-18) Mr. Camalier also

testified that he could not as of yet identify how the Assignment has created any risk until after

discovery is complete. (Id. at 87:15-22) Plaintiff also refused to answer questions regarding Topic

9, which asks about other Jane Doe defendants. Instead, Mr. Camalier stated that he was not

prepared to testify on that topic because discovery was ongoing, but there were a number of other

parties, including Transamerica. (Camalier Dep. Vol. I 333:12-336:3) Mr. Camalier would not

identify any other parties, but just days later Plaintiff’s counsel told RSD’s corporate witness that

Plaintiff was contemplating suing RSD’s principals.

         Accordingly, on multiple topics Mr. Camalier testified that he could not yet answer

questions that are material to Defendants’ defenses, but at the same time, Plaintiff would not agree

to make a witness available for these topics at the close of discovery.

                                         CONCLUSION

         Because Mr. Camalier did not adequately prepare for the 30(b)(6) Deposition and was

otherwise improperly instructed not to answer reasonable, relevant questions during both of his

depositions, Defendants respectfully request to continue Mr. Camalier’s Individual Deposition and

30(b)(6) Deposition at a near-future date. As discussed on the record, to address the questions

most efficiently and least burdensome to both sides, as well as reduce additional cost or travel on

all parties, Defendants are willing to conduct the questioning remotely; however, Plaintiff should

bear the costs. Thus, Defendants seek sanctions against Plaintiff in the form of costs and fees

attributable to bringing this motion and deposition resumption, along with any other amount that

the Court deems just and proper.



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         Dated: August 29, 2023                   Respectfully Submitted,

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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

Rock Spring Plaza II, LLC,

                    Plaintiff,

         v.                                           Civil Action No. 8:20-cv-01502-PJM

Investors Warranty of America, LLC,
et al.,

                    Defendants.


                                 CERTIFICATE OF SERVICE

         I hereby certify that on August 29, 2023, I electronically filed the foregoing

DEFENDANTS’ JOINT MOTION TO COMPEL DEPOSITION TESTIMONY OF

CHARLES CAMALIER, III via the Court’s CM/ECF system, which will automatically

provide electronic service copies to all counsel of record.

                                              Respectfully Submitted,

                                              /s/Rebecca A. Davis
                                              Rebecca A. Davis, Bar No. 23183




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